         Case 1:16-cr-10343-ADB Document 870 Filed 07/08/19 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

______________________________
                              )
UNITED STATES OF AMERICA )
                              )                       Court No.: 16-cr-10343-ADB
      v.                      )
                              )
MICHAEL L. BABICH (01) and    )
ALEC BURLAKOFF (02)           )
                              )
            Defendants.       )
______________________________)


       GOVERNMENT’S ASSENTED TO MOTION TO CONTINUE SENTENCINGS

       Michael Babich and Alec Burlakoff are both currently scheduled for sentencing on

September 5, 2019. The United States of America, by and through the undersigned attorneys,

hereby moves for a continuance of the sentencing date in these matters to a date in January 2020.

       In support of its motion, the government states that both Defendants have agreed to

cooperate in federal criminal investigations of co-conspirator practitioners in other districts.

That cooperation has already begun and will likely continue through the end of the year.

       As the Court is aware, the United States anticipates filing motions addressing substantial

assistance provided by each Defendant pursuant to U.S.S.G. §5K1.1 not only based upon their

cooperation in the case at bar, but also based upon their anticipated cooperation in at least eight

other federal districts. Ordinarily, prosecutors from those other districts would provide

information to the Court that the Court would use in assessing the nature and extent of the

cooperation by the Defendants. It is unlikely that this information will be available to the Court

by September 5. Thus, the government’s ability to assess the breadth of assistance by each

Defendant will not be complete. The United States anticipates that it will be able to file such
         Case 1:16-cr-10343-ADB Document 870 Filed 07/08/19 Page 2 of 2



motions before the end of the year.

       Moreover, the Defendants are currently scheduled for sentencing prior to the sentencings

scheduled for the non-cooperating defendants. In terms of timing, the government and the

Defendants respectfully submit that the cooperating defendants should be sentenced after the

non-cooperating defendants. This sequence will better inform the Court in determining the

appropriate sentences for the cooperating defendants.

       The Defendants each assent to the continuance of their respective sentencing hearings for

the reasons set forth above.

Date: July 8, 2019                           Respectfully submitted,


                                             ANDREW E. LELLING
                                             United States Attorney


                                      By:    /s/ K. Nathaniel Yeager
                                             K. NATHANIEL YEAGER (BBO 630992)
                                             Assistant U.S. Attorney
                                             Office of the U.S. Attorney
                                             John J. Moakley Federal Courthouse
                                             One Courthouse Way, Ste. 9200
                                             Boston, MA 02210
                                             (617) 748-3100
                                             nathaniel.yeager@usdoj.gov



CERTIFICATE OF SERVICE
     I, K. Nathaniel Yeager, I hereby certify that the foregoing document filed through the

ECF system will be sent electronically to counsel for the defendants.


                                                    By: /s/ K. Nathaniel Yeager
                                                    K. NATHANIEL YEAGER
                                                    Assistant United States Attorney
